PROB 18
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                                                                                                                             NOV 2 9 2021, (W
(REV. 81212010)                               UNITED STATES DISTRICT COURT
                                                           FOR
                                           EASTERN DISTRICT OF NORTII CAROLINA                                     , U~S. Marshals Service, EDNC
                                                    Western Division

U.S.A. vs. Dewayne Keith Thompson                                                                       Case Number: 5:19-CR-59-D

TO: 1U.S. Marshal or Other Qualified Officer.

                                                           WARRANT FOR ARREST

      You are hereby commanded to.arrest the within-named individual and bring them, forthwith, before United States District Court
      to answer charges that they have violated the conditions of their supervision imposed by the court
NAME:
Dewayne Keith Thompson

SUPERVISION IMPOSED BY:                                                                                   DATE IMPOSED
United States District Judge James C. Dever III                                                            4/29/2020

TO BE BROUGHT BEFORE:
                  '
Any US Magistrate Judge for Initial Appearance on Motion for Revocation of Supervised Release

CLERK                                                                                                                      DATE

Peter A. Moore, Jr.                                                                                                        11/29/2021




                                                                      RETURN

WARRANT RECEIVED AND EXECUTED                                       DATE RECEIVED                       DATE EXECUTED



EXECUTING AGENCY (NAME AND ADDRESS)
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NA~.                                   -       BY
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          'Insert designation of officer 10 whom the warrant is issued, e.g. " any United States Marshal or any other authorized officer;" or "any United
          States marshal;" or "any Special Agent of the Federal Bureau of Investigation" or "any Uniled States Marshal or any Special Agent of the
          Federal Bureau of Invcsligation;" or "any agent of the Alcohol Tax Unit".


                                                                                                                     FILED
                                                                                                                    MAY O4 2022
                                                                                                                 PE"fER A. MOORE. JR.. CLERK
                                                                                                                BYUS D ~ ~ R T , ~CU<
